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| UNITED STATES DISTRICT COURT ee
MIDDLE DISTRICT OF FLORIDA @.eR, |) (8

OCOIO Division
CIVIL RIGHTS COMPLAINT FORM

Nekgune Mora NY
W491

(Enter full name of each Plaintiff

and prison number, if applicable) CASE NUMBER: ©: /S~0V-S0 Y- Qc-

(to be supplied by Clerk’s Office) JO -
Vv.

So Rosse\\ Dones

 

 

 

  
  

Te ATT SatBalér til tame of each Defendant.
wee ISS" Tf additional space is required, use
the blank area directly to the right)

 

ANSWER ALL OF THE FOLLOWING QUESTIONS:

I. PLACE OF PRESENT CONFINEMENT: \Lowwoe\ bane C.-T.
(Indicate the name and location)

WWLO Ww Garinesvine RBA Ocala EA PALS Ze

Il. DOES YOUR COMPLAINT CONCERN EVENTS IN A STATE PRISON FACILITY
WITHIN THE FLORIDA DEPARTMENT OF CORRECTIONS?
Yes (. No( )

If your answer is YES, after reviewing the exhaustion requirements, answer the
following questions:

EXHAUSTION OF ADMINISTRATIVE REMEDIES: Pursuant to the Prison
Litigation Reform Act of 1995, Title VIII, Section’ 803, AMMendiiehts to Civil Rights of
Institutionalized Persons Act, exhaustion of administrative remedies is required in any
action brought with respect to prison conditions under 42 U.S.C. 1983 or any other —
federal law, by a prisoner confined in any jail, prison, or other correctional facility. Any
required grievances, appeals, and responses must be submitted to the Court to verify
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exhaustion. (If your Complaint concems conditions at State Prison F acilities, you must
answer the following questions in Section II of this form. If the complaint concerns
conditions at a County Jail or local correctional facility, you must complete Section III of

7 this form).
EXHAUSTION STEPS ORDINARILY REQUIRED FOR COMPLAINTS ABOUT
CONDITIONS AT STATE PRISON FACILITIES:
General Grievance

1. Informal Grievance (Form DC3-005)
2. Formal Grievance (Form DC1-303)
3. Appeal to the Office of Secretary (Form DC1-303)

Other Grievances.
Inmates are not required to utilize the Informal Grievance process in the case of an

emergency grievance, a grievance of reprisal, a grievance of a sensitive nature, a
grievance alleging violation of the Americans with Disabilities Act, a medical grievance,
a grievance involving admissible reading material, a grievance involving gain time
governed by rule 33-11.0065 Incentive Gain Time, or a grievance involving disciplinary
action (does not include corrective consultations) governed by chapter 33-22. The,
grievance steps are set forth in Fla. Admin. Code Chapter 33-29. so

Questions: . 7 we
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we ea tg ere tet
A. Emergency Grievance, Grievance of Reprisal, Grievance of a Sensitive Nature es

 

 
 

 

Grievance Alleging Violation of the Americans with Disabilitiés Act, Medical Grievance

' Grievance Involving ‘Admissible Reading Material, Grievance Involving Gain Time
Governed by Rule 33-11.0065.Incentive Gain Time, or Grievance Involving Disciplinar
Action Governed by Chapter 33-22 (Request for Administrative Remed or Appeal
bypassing the informal grievance step).

1. Did you submit an above-mentioned grievance to the Superintendent and/or
to the office of Secretary (Form DC1-303)? Yes( ) No (iy

2. Ifso, you must attach a copy of the grievance and response to this Complaint
Form.

3. Were you denied emergency status? Yes ( ) No (~

a. Ifso, did you go through the informal grievance, formal grievance and
appeal process? Yes( ) No (“Yor ree

b. Ifso, you must attach copies of the grievance/appeals and responses to
this Complaint Form.
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B. Informal Grievance (Request for Interview)

 

1. Did you submit an informal grievance (Form DC30995)? Yes( ) No wo

2. Ifso, you must attach a copy of the grievance and response to this Complaint
Form.

C. Formal Grievance (Request for Administrative Remedy or Appeal)

 

1. Did you have a disciplinary hearing regarding this matter? Yes ( ) No uo

2. Ifso, you must attach a copy of the disciplinary report worksheet and
disciplinary committee’s findings and decision to this Complaint Form.

3. Did you submit a formal grievance (Form DC1-303)? Yes( ) No( K

4. Ifso, you must attach a copy of the grievance and response to this Complaint
Form.

D. Appeal to the Office of the Secretary (Request for Administrative Remedy or
Appeal)

1. Did you submit an appeal to the Office of the Secretary (FormDC1-303)?
oe “Yes ( ) No ( v com ot

aa

2. “Tf so,

you must attach a copy of the appeal and response to this Complaint

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING
ANSWERS TO THE QUESTIONS IN THIS SECTION ARE TRUE AND
CORRECT.

Signed this S 20M \eday of \ ye , 20\H.

 

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Signature of Plaintiff
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It. DOES YOUR COMPLAINT CONCERN EVENTS IN A COUNTY JAIL OR
LOCAL FACILITY? Yes ( ) No (\%

If your answer is YES, answer the following questions:
A. Is there a grievance procedure at your institution or jail? Yes( ) No( Oo”

B. Did you present the facts relating to your Complaint in the grievance procedure?

Yes( ) No ( ~*~
C. If your answer is YES:

1. What steps did you take?

 

 

2. What were the results?

 

 

3. To demonstrate exhaustion, you must submit copies of all relevant grievance
appeals and responses.

D. If your answer is NO, explain: _“ woas Owmedorve ko Stam,
Bowe A AxveVamnce Ave “so SSELOGS UA SHS .

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING
ANSWERS TO THE QUESTIONS IN THIS SECTION ARE TRUE AND
CORRECT.

Signed this_S@pk day of \Y ,20\9 |

 

Neke nd Waveney

Signatiré of Plaintiff

 
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IV. PREVIOUS LAWSUITS:

A. Have you initiated other lawsuits in State Court dealing with the same or similar

facts involved in this action or otherwise ating to your imprisonment or
conditions thereof? Yes( ) No (

. Have you initiated other lawsuits in Federal Court dealing with the same or

similar facts involved in this action or otherwise relating to your imprisonment
or conditions thereof? Yes( ) No (

. If your answer to either A or B is YES, describe each lawsuit in the space

provided. If there is more than one lawsuit, describe all additional lawsuits ona
separate piece of paper using the same format.

1. Parties to previous lawsuit:
Plaintifi(s):

 

 

Defendant(s):

 

 

2. Court (if Federal Court, name the district; if State Court, name the County):

 

 

3, Docket Number:

 

 

 

 

 

4. Name of Judge:
5. Briefly describe the facts and basis of the lawsuit:
6. Disposition (Was the case dismissed? Was it appealed? Is it still pending’):

 

7. Approximate filing date:

 

 

8. Approximate disposition date:
one

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D. Have you initiated lawsuits or appeals from lawsuits in Federal Court that have
been dismissed as frivolous, malicious or for failure to state a claim upon which
relief may be granted? If so, identify these suits below by providing the case
number, the style, and the disposition of each case:

 

 

 

 

V. PARTIES: In part A of this section, indicate your full name in the first blank and
your full mailing address in the second blank. Do the same for each additional
Plaintiff named in the Complaint (if any) in part B of this section:

A. Name of Plaintiff: Keherine Mornay
Mailing address: Puc 31oo we we PACE OCaha EF BSUS 2
SY ome 00 Cox Wo2y Fx qrverce EL Bay

B. Additional Plaintiffs:

 

In part C of this section, indicate the full name of the first Defendant. Also, fill in his or
her mailing address, position, and where he or she is employed. For any additional
Defendants, use parts D through G of this section for the names, addresses, positions and
places of employment: ,

C. Defendant: SAN Qosse\\ Tones |
Mailing Address: \ACLO Wuro Gawwyeand Ne. RA @cala
PA ANG 2

Position: Spoke - ~

Employed at: Lowe Nace% COL

 

D. Defendant:

 
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é

Mailing Address:

 

 

Position:

 

Employed at:

 

E. Defendant:

 

Mailing Address:

 

 

 

Position:

Employed at:

 

F. Defendant:

 

Mailing Address:

 

Position:

 

Employed at:

 

G. Defendant:

 

Mailing Address:

 

 

Position:

 

Employed at:

 

 

VI. STATEMENT OF CLAIM: State what rights tinder the Constitution, laws, or
treaties of the United States have been violated, and be specific. If you intend to
allege a number of related claims, set forth each claim in a separate paragraph. Any
claim that is not related to the same basic incident or issue must be addressed in a
separate Civil Rights Complaint Form.
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Vul. STATEMENT _OF FACTS: State as briefly as possible the FACTS of your case.
Describe how each defendant was involved. Do not make any legal arguments or
cite any cases or statutes. State with as much specificity as possible the facts in the
following manner:

Name and position of person(s) involved.

Date(s)

Place(s)

Fact(s) or event(s) giving rise to your claim, including involvement of each
defendant. . oe Lo _
5. Nature and extent of injury (i.e., physical injury or how you were harmed by the
acts of the defendant(s). =o =~ || .

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Statement of Facts, continued:
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VIII. RELIEF REQUESTED: State briefly what you want the Court to do for you.
Again, do not make any legal arguments or cite any cases or statutes:

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CEG AWCOA Sine Osc essure Force oak Utes Osed

BOO WINS E woe.

 

 

 

 

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS

 

 

TRUE AND CORRECT.
Signed this $e ov day of \G oe toe , 20 \o
Be ae
VEU Cra einccy

 

(Signatures of all Plaintiffs) °

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